                Case 2:24-cv-00191-TL Document 29 Filed 04/08/24 Page 1 of 6




 1
                                                          THE HONORABLE TANA LIN
 2

 3

 4

 5

 6

 7                           UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     MARIANA FRANZETTI, individually and on
10   behalf of all others similarly situated,    Case No. 2:24-cv-00191-TL

11                                  Plaintiff,   DEFENDANT PACIFIC MARKET
                                                 INTERNATIONAL, LLC’S
12         v.                                    OPPOSITION TO PLAINTIFFS’
                                                 MOTION TO CONSOLIDATE
13   PACIFIC MARKET INTERNATIONAL,               RELATED ACTIONS UNDER FED. R.
     LLC, D/B/A PMI WORLDWIDE, AND               CIV. P. 42(A) AND LCR 42 AND TO
14   DOES 1-10,                                  SET DEADLINES

15                                Defendant.     NOTE ON MOTION CALENDAR:
                                                 APRIL 12, 2024
16
                                                 ORAL ARGUMENT REQUESTED
17

18

19

20

21

22

23

24

25

26

     DEFENDANT’S OPPOSITION TO PLAINTIFFS’                                 K&L GATES LLP
     MOTION TO CONSOLIDATE RELATED ACTIONS                            925 FOURTH AVENUE, SUITE 2900
                                                                     SEATTLE, WASHINGTON 98104-1158
     No. 2:24-cv-00191-TL                                               TELEPHONE: +1 206 623 7580
                                                                         FACSIMILE: +1 206 623 7022
                  Case 2:24-cv-00191-TL Document 29 Filed 04/08/24 Page 2 of 6




 1            Defendant Pacific Market International, LLC (“PMI”) respectfully submits this opposition

 2   to plaintiffs’ motion to consolidate what they describe as “[c]ompeting putative class actions.”

 3   Dkt. No. 23 at 7.

 4                                                    ARGUMENT

 5            No one is entitled to file duplicative or “competing” litigation. In fact, it is hornbook law

 6   that duplicative lawsuits are wasteful and should not be filed. “Plaintiffs generally have no right

 7   to maintain two separate actions involving the same subject matter at the same time in the same

 8   court and against the same defendant.” Adams v. Cal. Dep’t of Health Servs., 487 F.3d 684, 688

 9   (9th Cir. 2007) (quotation marks omitted); see also Walton v. Eaton Corp., 563 F. 2d 66, 70 (3d

10   Cir. 1977) (“[t]here is no reason why a court should be bothered or a litigant harassed with

11   duplicating lawsuits on the same docket”) (quotation marks omitted). Yet in their motion for

12   consolidation, plaintiffs in Krohn and Barbu readily agree that their lawsuits are, practically

13   speaking, copies of the earlier-filed Franzetti action. 1 According to those plaintiffs, their lawsuits

14   and Franzetti:

15            •       “[are] based on the same factual allegations;”

16            •       “arise from the same underlying action;”

17            •       “assert[s] claims on behalf of the same or similar classes of persons;”

18            •       “allege that class members suffered similar harms;” and

19            •       “bring[] similar types of warranty, consumer protection and/or common law

20                    claims.”

21   Dkt. No. 23 at 5, 6. Plaintiffs have accordingly established that there is no need for their lawsuits.

22   In light of Franzetti, they serve no legitimate purpose and provide no benefit to the purported class

23   members on whose behalf they were filed. Plaintiffs do not argue otherwise.

24

25   1
       As explained in PMI’s corporate disclosure statement, plaintiffs Franzetti, Krohn and Barbu have all erroneously
     sued the wrong corporate entity. See Dkt. No. 15. The correct corporate entity is PMI WW Brands, LLC. See id.
26                                                          -1-
                                                                                                      K&L GATES LLP
         DEFENDANT’S OPPOSITION TO PLAINTIFFS’                                                   925 FOURTH AVENUE, SUITE 2900
                                                                                                SEATTLE, WASHINGTON 98104-1158
         MOTION TO CONSOLIDATE RELATED ACTIONS                                                     TELEPHONE: +1 206 623 7580
         No. 2:24-cv-00191-TL                                                                       FACSIMILE: +1 206 623 7022
                Case 2:24-cv-00191-TL Document 29 Filed 04/08/24 Page 3 of 6




 1          But, plaintiffs say, they have satisfied the requirements for consolidation, and therefore

 2   they are entitled to have their lawsuits consolidated with Franzetti. This ignores the fact that these

 3   lawsuits also satisfy the requirements for a dismissal or stay under the first-to-file rule, because

 4   they (1) were filed after Franzetti, (2) involve the same defendant and the same purported class as

 5   Franzetti, and (3) involve the same central questions as Franzetti. See Kohn Law Grp., Inc. v.

 6   Auto Parts Mfg., Miss., Inc., 787 F.3d 1237, 1240 (9th Cir. 2015); Pacesetter Sys., Inc. v.

 7   Medtronic, Inc., 678 F.2d 93, 95 (9th Cir. 1982); see also Krohn, Dkt. No. 33 at 5-7.

 8          The Court should dismiss or stay Krohn and Barbu rather than consolidate them with

 9   Franzetti. There was no reason for these lawsuits to have been filed in the first place. A dismissal

10   or stay will further the policy disfavoring duplicative litigation. Consolidation, on the other hand,

11   will send a message to potential claimants that there is no downside, and only potential upside, to

12   filing pointless copycat lawsuits.

13          Consolidation creates other drawbacks as well. Consolidation means that PMI will have

14   to bear the unnecessary burden of conducting discovery against not one plaintiff, but two or three

15   or possibly more plaintiffs. And, given that the plaintiffs in Franzetti, Krohn, and Barbu are

16   represented by no less than eight law firms, it is not hard to imagine that it may be more difficult

17   to achieve a negotiated resolution than it would be if only one lawsuit were in play. A dismissal

18   or stay presents neither of these problems.

19          The two district court orders cited by plaintiffs for the proposition that the Court should

20   consolidate rather than dismiss or stay does not change this analysis or require a different outcome.

21   In Ekin v. Amazon Services, LLC, No. C14-0244-JCC, 2014 WL 12028588 (W.D. Wash. May 28,

22   2014), all parties, including the defendant, agreed to consolidation. Id. at *1. The plaintiff who

23   first filed then requested that the court stay the second-filed action. Id. But because all parties had

24   agreed to consolidation, and the court had already granted the consolidation request, the court

25   decided that dismissal under the first-to-file rule was inappropriate. Id. at *2 n.1. Here, of course,

26                                                    -2-
                                                                                            K&L GATES LLP
      DEFENDANT’S OPPOSITION TO PLAINTIFFS’                                            925 FOURTH AVENUE, SUITE 2900
                                                                                      SEATTLE, WASHINGTON 98104-1158
      MOTION TO CONSOLIDATE RELATED ACTIONS                                              TELEPHONE: +1 206 623 7580
      No. 2:24-cv-00191-TL                                                                FACSIMILE: +1 206 623 7022
                 Case 2:24-cv-00191-TL Document 29 Filed 04/08/24 Page 4 of 6




 1   all parties have not agreed to consolidation, and the question of whether to consolidate or dismiss

 2   or stay has not been decided. Pecznick v. Amazon.com, Inc., No. 2:22-cv-00743-TL, 2022 WL

 3   4483123 (W.D. Wash. Sept. 27, 2022) was also a case in which the defendant supported

 4   consolidation and the plaintiffs in the first-filed case moved to dismiss the second-filed case under

 5   the first-to-file rule. This Court denied the motion to dismiss because the movants conceded that

 6   they did not satisfy the requirements of the rule. Id. at *2 (noting that movants argued “that both

 7   the factual and legal claims are ‘vastly different’”). PMI makes no such concession here — indeed,

 8   the only relevant concession is the admission by plaintiffs as to the striking similarity of their

 9   lawsuits.

10           Moreover, the fact that in Ekin and Pecznick the defendant did not oppose consolidation is

11   a critical difference, because it means that in those cases the defendant did not argue, and the court

12   did not consider, that consolidation would saddle the defendant with the unnecessary burden of

13   conducting discovery against additional plaintiffs. Nor did the defendant argue, or the court

14   consider, that consolidation rather than a dismissal or a stay raises the possibility of making

15   settlement more difficult to achieve.

16           Most fundamentally, in Ekin and Pecznick, the courts did not consider the disfavored nature

17   of copycat lawsuits as a basis for a dismissal or stay rather than consolidation. As the parties who

18   chose to file such lawsuits, Ms. Krohn and Ms. Barbu should have to justify why consolidation is

19   preferable to dismissal. They can proffer no such justification, because their lawsuits serve no

20   legitimate purpose. When there is no good reason to keep alive a lawsuit that should not have been

21   filed in the first place, dismissal is appropriate.

22           While plaintiffs contend that consolidation is the more equitable outcome, the opposite is

23   in fact true. A dismissal or stay of the later-filed actions will have zero negative impact on the

24   members of the purported class, because all of their rights can be protected and vindicated through

25   Franzetti. There is accordingly no equitable reason to eschew a dismissal or stay. On the other

26                                                     -3-
                                                                                           K&L GATES LLP
      DEFENDANT’S OPPOSITION TO PLAINTIFFS’                                           925 FOURTH AVENUE, SUITE 2900
                                                                                     SEATTLE, WASHINGTON 98104-1158
      MOTION TO CONSOLIDATE RELATED ACTIONS                                             TELEPHONE: +1 206 623 7580
      No. 2:24-cv-00191-TL                                                               FACSIMILE: +1 206 623 7022
                  Case 2:24-cv-00191-TL Document 29 Filed 04/08/24 Page 5 of 6




 1   hand, in light of the disfavored nature of these lawsuits and the fact that consolidation will have

 2   an adverse impact on PMI, the equities counsel against allowing them to proceed. 2

 3                                                      CONCLUSION

 4            There is no legitimate reason why parties who filed unnecessary, duplicative lawsuits

 5   should be entitled to have their cases consolidated rather than dismissed. Moreover, the fact that

 6   consolidation has downsides that a dismissal or stay does not have makes the argument against

 7   consolidation even stronger. For the foregoing reasons, PMI respectfully requests that the Court

 8   deny plaintiffs’ consolidation motion.

 9

10

11

12

13

14

15

16

17

18

19

20

21

22   2
       Although not relevant to their consolidation motion, plaintiffs argue that they may bring a nationwide class action
     under the Washington Consumer Protection Act because the Washington Supreme Court, on a question certified to it
23
     by the Western District of Washington, held that the Act may be applied extraterritorially. Thornell v. Seattle Serv.
     Bureau, Inc., 184 Wn.2d 793, 363 P.3d 587, 592 (2015). However, plaintiffs neglect to note that when the Washington
24
     Supreme Court returned the matter to the Western District of Washington, the court held that under choice-of-law
     principles, the out-of-state plaintiffs could not sue under the Act for injuries sustained out of state, Thornell v. Seattle
25
     Serv. Bureau, Inc., No. C14-1601-MJP, 2016 WL 3227954, at *2-4 (W.D. Wash. June 13, 2016)—a holding that the
     Ninth Circuit affirmed, Thornell v. Seattle Serv. Bureau, Inc., 742 F. App’x 189, 190-93 (9th Cir. 2018).
26                                                              -4-
                                                                                                             K&L GATES LLP
         DEFENDANT’S OPPOSITION TO PLAINTIFFS’                                                         925 FOURTH AVENUE, SUITE 2900
                                                                                                      SEATTLE, WASHINGTON 98104-1158
         MOTION TO CONSOLIDATE RELATED ACTIONS                                                           TELEPHONE: +1 206 623 7580
         No. 2:24-cv-00191-TL                                                                             FACSIMILE: +1 206 623 7022
              Case 2:24-cv-00191-TL Document 29 Filed 04/08/24 Page 6 of 6




 1   DATED April 8, 2024                      Respectfully submitted,
 2                                            K&L GATES LLP
 3
                                              By: /s/ Pallavi Mehta Wahi
 4                                                Pallavi Mehta Wahi, WSBA No. 32799
                                                  pallavi.wahi@klgates.com
 5                                                Shelby Stoner, WSBA No. 52837
                                                  shelby.stoner@klgates.com
 6                                                925 Fourth Avenue, Suite 2900
                                                  Seattle, WA 98104
 7                                                Telephone: 206.623.7580
                                                  Facsimile: 213.243.4199
 8
                                                   Attorneys for Defendant Pacific Market
 9                                                 International, LLC

10                                            ARNOLD & PORTER KAYE SCHOLER LLP

11                                                 James F. Speyer (pro hac vice)
                                                   E. Alex Beroukhim (pro hac vice)
12                                                 james.speyer@arnoldporter.com
                                                   alex.beroukhim@arnoldporter.com
13                                                 777 South Figueroa Street, 44th Floor
                                                   Los Angeles, CA 90017-5844
14                                                 Telephone: 213.243.4000
                                                   Facsimile: 213.243.4199
15
                                                   Elie Salamon (pro hac vice)
16                                                 elie.salamon@arnoldporter.com
                                                   250 West 55th Street
17                                                 New York, NY 10019-9710
                                                   Telephone: 212.836.8000
18                                                 Facsimile: 212.836.8969

19                                                 Attorneys for Defendant Pacific Market
                                                   International, LLC
20
                                                   I certify that this memorandum contains
21                                                 1,259 words, in compliance with the Local
                                                   Civil Rules.
22

23

24

25

26                                        -5-
                                                                               K&L GATES LLP
      DEFENDANT’S OPPOSITION TO PLAINTIFFS’                               925 FOURTH AVENUE, SUITE 2900
                                                                         SEATTLE, WASHINGTON 98104-1158
      MOTION TO CONSOLIDATE RELATED ACTIONS                                 TELEPHONE: +1 206 623 7580
      No. 2:24-cv-00191-TL                                                   FACSIMILE: +1 206 623 7022
